       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Raheem Chabezz Johnson
        v. Commonwealth of Virginia
        Record No. 1941-12-3
        Opinion rendered by Judge Beales on
        March 25, 2014
        *Delayed appeal awarded by Supreme Court

    2. Chezmin Brittany Suter
       v. Commonwealth of Virginia
       Record No. 1937-15-1
       Opinion rendered by Judge Humphreys on
        February 21, 2017

    3. Rayshawn Torrell Greer
       v. Commonwealth of Virginia
       Record No. 0175-16-1
       Opinion rendered by Judge Beales on
        February 21, 2017

    4. Antonio Passaro, Jr.
       v. Virginia Department of State Police
       Record No. 0328-16-1
       Opinion rendered by Judge Beales on
        February 21, 2017

    5. Carroll Edward Gregg, Jr.
        v. Commonwealth of Virginia
        Record No. 0047-16-4
        Opinion rendered by Judge Chafin on
        February 28, 2017

    6. Northrop Grumman Shipbuilding, Inc., n/k/a Huntington Ingalls Incorporated
        v. Wardell Orthopaedics, P.C.
        Record No. 1182-16-1
        Opinion rendered by Judge Beales on
        February 28, 2017
    7. Newport News Shipbuilding &amp; Dry Dock Co., n/k/a Huntington Ingalls Incorporated
        v. Wardell Orthopaedics, P.C.
        Record No. 1183-16-1
        Opinion rendered by Judge Humphreys on
        February 28, 2017
8. Amanda Barbara Nichole Taylor
    v. Commonwealth of Virginia
    Record No. 0543-16-3
    Opinion rendered by Judge Petty on
    March 14, 2017

9. Virginia Board of Medicine and Virginia Department of Health Professions
    v. Leila Hadad Zackrison, M.D.
    Record No. 1291-16-2
    Opinion rendered by Judge Russell on
    March 14, 2017
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Raheem Chabezz Johnson
   v. Commonwealth of Virginia
   Record No. 1941-12-3
   Opinion rendered by Judge Beales
    on March 25, 2014
   Judgment of Court of Appeals affirmed by opinion rendered on
   December 15, 2015 (141623)
   *Delayed appeal was awarded by Supreme Court

2. James Lee Frango
    v. Commonwealth of Virginia
   Record No. 1195-15-3
    Opinion rendered by Judge Russell
     on February 23, 2016
    Refused (160649)

3. Charles Jayson Beck, s/k/a Charles Jason Beck
   v. Commonwealth of Virginia
   Record No. 0997-15-1
   Opinion rendered by Judge Russell
    on April 26, 2016
   Refused (160831)
      The Supreme Court issued an opinion in the following case, which had been appealed
from this Court:

   1. Tavon Hilton
      v. Commonwealth of Virginia
      Record No. 0552-15-2
      CAV petition for appeal denied by Judge Petty on December 30, 2015 and by
       Judges Petty, Alston and Russell on March 15, 2016
      Judgment of Court of Appeals affirmed by opinion rendered on April 13, 2017
      (160458)
